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          UNITED STATES COURT OF INTERNATIONAL TRADE


 UNITED STATES,

         Plaintiff,
                                           Before: Jennifer Choe-Groves, Judge
 v.
                                           Court No. 17-00031
 GREENLIGHT ORGANIC, INC.
 and PARAMBIR SINGH AULAKH,

         Defendants.


                                       ORDER

       Before the Court is the Motion to Amend Order Setting Forth Deadline for

Proposed Pre-Trial Order (“Defendants’ Motion”), ECF No. 175, in which

Defendants request that the deadline for a proposed pre-trial scheduling order be

extended from September 19, 2022 until fifteen days after the Court’s decision on

two pending motions. Defs.’ Mot. at 1. Plaintiff took no position. Id. at 2.

       Upon consideration of Defendants’ Motion, and all other papers and

proceedings in this action, it is hereby

       ORDERED that Defendants’ Motion, ECF No. 175, is granted in part; and

it is further
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      ORDERED that the deadline for a joint proposed pre-trial order, or separate

proposed pre-trial orders, is stayed pending further order of this Court.



                                                       /s/ Jennifer Choe-Groves
                                                      Jennifer Choe-Groves, Judge

Dated:     September 19, 2022
           New York, New York
